        Case 1:22-cv-01260-TJK           Document 54       Filed 06/27/24      Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 A.P. Bell Fish Company, Inc., et al.,                )
                                                      )
                                 Plaintiffs           )
                                                      )
                 v.                                   )
                                                      )
 Gina Raimondo, in her official capacity as           )
 Secretary of the United States Department of         )     No. 1:22-cv-01260-TJK
 Commerce, et al.,                                    )
                                                      )
                                 Defendants           )
                                                      )
 State of Louisiana, et al.,                          )
                                                      )
                  Intervenor-Defendants               )
 _______________________________________

 DECLARATION OF J. TIMOTHY HOBBS IN SUPPORT OF PLAINTIFFS’ MOTION
  FOR ATTORNEYS’ FEES AND COSTS PURSUANT TO THE EQUAL ACCESS TO
                           JUSTICE ACT

J. Timothy Hobbs declares under penalty of perjury the following:

       1.       My name is J. Timothy Hobbs. I am over eighteen years of age and have personal

knowledge of the facts stated herein, which are true and correct to the best of my knowledge,

information and belief.

       2.       I am a partner with the law firm of K&L Gates LLP, counsel of record for the

plaintiffs/appellants in this case: A.P. Bell Fish Company, Inc. (“A.P. Bell”), Southern Offshore

Fishing Association, Inc. (“SOFA”), and the Gulf of Mexico Reef Fish Shareholders’ Alliance

(“Shareholders’ Alliance”) (collectively, “Plaintiffs”). I am a member in good standing of the

bar of this Court.

       3.       I am the billing attorney for this case, which means that I am responsible for

reviewing all of the time entries billed by attorneys in connection with this litigation and


                                                 1
        Case 1:22-cv-01260-TJK           Document 54       Filed 06/27/24      Page 2 of 4




preparing the monthly invoices for transmittal to the Plaintiffs. Attached hereto as Exhibit A to

this declaration is a detailed itemization of the actual time recorded by each attorney working on

this litigation through June 14, 2024, for which the Plaintiffs are seeking reimbursement. Exhibit

A is not a copy of the invoices provided to the Plaintiffs by K&L Gates. Excluded from Exhibit

A are billings for work performed that was not directly related to this litigation or was devoted to

administrative tasks. The task descriptions found in Exhibit A are based on the

contemporaneous descriptions prepared by each attorney and contained in the monthly invoices

provided to the Plaintiffs by K&L Gates and reflect an accurate depiction of the daily work

performed in connection with this litigation. In some cases I made redactions or minor edits to

the narratives to exclude information protected by attorney-client privilege and/or the attorney

work product doctrine. The time devoted to this litigation as reflected in Exhibit A was

reasonable and necessary to successfully litigate the Plaintiffs’ case. As the billing attorney for

this matter, I regularly excluded from the monthly invoices sent to the Plaintiffs any billings for

time that I deemed duplicative or excessive; consequently, the Plaintiffs were not billed for, and

Exhibit A does not contain, the time worked that I wrote off as duplicative or excessive. All of

the work performed by K&L Gates in connection with this litigation was on behalf of all the

Plaintiffs collectively; none of the work performed in connection with this litigation was for the

sole benefit of any one of the Plaintiffs.

        4.     The K&L Gates attorneys who worked on this litigation are listed in the following

chart, which includes the total number of hours each worked on this litigation for which the

Plaintiffs are seeking reimbursement, and the total value of such work performed calculated at

the adjusted statutory EAJA hourly rates of $370.15 for 2022, $381.65 for 2023, and $391.14 for

2024.


                                                 2
        Case 1:22-cv-01260-TJK          Document 54        Filed 06/27/24      Page 3 of 4




 Attorney Name         Hours Billed as Reflected       Total Value at Adjusted Statutory
                       at Exhibit A                    EAJA Rates
                                                       2022 – $370.15
                                                       2023 – $381.65
                                                       2024 – $391.14
 Barry Hartman         2022: 4.60                      2022: $1,702.69
 (Partner)
 Derek Kalbfleisch     2024: 4.10                      2024: $1,517.62
 (Associate)
 J. Timothy Hobbs      2022: 272.20                    2022: $100,754.83
 (Partner)             2023: 129.90                    2023: $49,576.36
                       2024: 21.70                     2024: $8,487.74
 John L. Longstreth    2023: 20.70                     2023: $7,900.16
 (Partner)             2024: 0.70                      2024: $273.80
 Layne Marler          2022: 6.10                      2022: $2,257.92
 (Paralegal)
 Ruby Nagamine         2022: 4.80                      2022: $1,776.72
 (Associate)
 Natalie Reid          2022: 34.70                     2022: $12,844.21
 (Associate)           2023: 138.10                    2023: $52,705.87
 Michael F.            2022: 21.90                     2022: $8,106.27
 Scanlon               2023: 17.90                     2023: $6,831.54
 (Partner)             2024: 0.80                      2024: $312.92
 Palmer Smith          2024: 14.40                     2024: $5,632.42
 (Associate)
 David Wang            2022: 18.10                     2022: $6,699.72
 (Associate)           2023: 3.10                      2023: $1,183.12
 TOTALS                713.80                          $268,563.91



       5.      Plaintiffs are also seeking reimbursement of certain costs incurred to litigate this

case. First, Plaintiffs incurred $10,000.00 for an expert economist to prepare a report and advise

on Plaintiffs’ economic arguments against Amendment 53. Specifically, on or about October 29,

2021, on behalf of the Plaintiffs I retained Dr. Daniel Willard, an economist with a PhD in

Economics from the University of Washington who has published several academic papers

regarding economic aspects of managing Gulf of Mexico marine fisheries. Dr. Willard prepared

a report for me and consulted with me during the course of this litigation including through and

after the judgment of the D.C. Circuit. Second, Plaintiffs also incurred legal research charges

                                                 3
           Case 1:22-cv-01260-TJK       Document 54         Filed 06/27/24      Page 4 of 4




totaling $1,268.22. Specifically, Plaintiffs were billed the following amounts for legal research

charges on the dates specified: February 9, 2022 ($105.88); March 25, 2022 ($57.39); April 29,

2022 ($128.13); May 25, 2022 ($8.05); July 26, 2022 ($232.43); August 5, 2022 ($88.34);

September 16, 2022 ($202.34); May 26, 2023 ($290.09); March 27, 2024 ($155.57). Finally,

Plaintiffs also incurred costs of $402.00 to file their complaint in this case. All of the foregoing

costs were reasonable and necessary to successfully litigate the Plaintiffs’ case. Plaintiffs

incurred other costs, including copying and printing costs and travel expenses for counsel to

argue this case, but Plaintiffs are not seeking reimbursement for such costs.



I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and

correct.

Executed on June 27, 2024.                     ____________________________
                                                     J. Timothy Hobbs




                                                  4
